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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 INOVA HEALTH CARE SERVICES,
 FOR INOVA FAIRFAX HOSPITAL AND
 ITS DEPARTMENT, LIFE WITH
 CANCER, et al.,
         Plaintiffs,
                 v.                                      Civil Action No. 20-784 (JDB)
 OMNI SHOREHAM CORPORATION,
 et al.,
         Defendants.

                             AMENDED SCHEDULING ORDER

       Upon consideration of [54] the consent motion to modify the Scheduling Order dated April

14, 2021, and the entire record herein, it is hereby

       ORDERED that the motion is GRANTED, and it is further

       ORDERED that the following schedule shall govern further proceedings:

     Deadline for Embassy’s Rule 26(a)(2) Expert            August 3, 2021
     Disclosures to Plaintiffs and Omni

     Deadline for Plaintiffs’ and Omni’s Rebuttal Rule      August 17, 2021
     26(a)(2) Expert Disclosures to Embassy

     Deadline   for     Embassy’s     Rule    26(e)(2)      August 31, 2021
     Supplementation of Disclosures and Responses

     Discovery Deadline                                     September 24, 2021

     Dispositive Motions Deadline                           October 29, 2021

     Opposition Deadline                                    November 12, 2021

     Reply Deadline                                         November 19, 2021

     Pretrial Conference                                    TBD

     Trial                                                  Set at the Pretrial Conference


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      SO ORDERED.

                                                                   /s/
                                                            JOHN D. BATES
                                                       United States District Judge
Dated: June 7, 2021




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